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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

                                  Case No. 2:20-cv-02056-RMG

 CADE CUNNINGHAM,

      Plaintiff,

 v.

 JUUL LABS, INC., et al.,

      Defendants.
                                                              /

           JOINT REPORT ON STATUS OF MDL TRANSFER PURSUANT TO
                      THE COURT’S JUNE 14, 2020 ORDER

       Pursuant to the Court’s Order of June 14, 2020 (Doc. 19), the parties jointly submit this

update on the status of this action’s transfer to MDL No. 2913.

       On June 25, 2020, Plaintiff filed a motion to vacate Conditional Transfer Order 33, which

conditionally transferred this action to the MDL. On July 7, 2020, Defendant Juul Labs, Inc. filed

an opposition to Plaintiff’s motion to vacate Conditional Transfer Order 33. On July 23, 2020,

Plaintiff filed a reply in support of her motion to vacate.

       Plaintiff’s motion to vacate Conditional Transfer Order 33 has been designated for

consideration without oral argument in conjunction with the Judicial Panel on Multidistrict

Litigation’s hearing on September 24, 2020.
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 Dated: September 11, 2020                Respectfully submitted,

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